                  UNITED STATES BANKRUPTCY COURT
                   EASTERN DISTRICT OF MICHIGAN
                    SOUTHERN DIVISION (DETROIT)

In re:

HEITMANN, Brandon L.,                                 Chapter 7
                                                      Case No. 24-41956-mar
            Debtor.                                   Hon. Mark A. Randon
                                      /


                         CERTIFICATE OF SERVICE

      I certify that on May 30, 2025, I filed (1) Trustee’s Motion for Approval of
Sale of Personal Property, (2) proposed Order Approving Sale of Personal
Property, (3) Notice of Opportunity to Object to Trustee’s Motion (4) Sale
Agreement, and (5) this Certificate of Service with the U.S. Bankruptcy Court via
the Court’s ECF system, which will send copies to the ECF participants in the
above-entitled matter, including the following:
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                                   Exhibit “4”
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